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LAWRENCE ROBERTS, ARBITRATOR
1046 Kimberly Drive
Uniontown, PA 15401
PH: (724) 366-4907

Scott Kamins, Esquire

for Economy Linen and Towel Service
Offit Kurman

8171 Maple lawn Blvd., Suite 200
Maple Lawn, MD 20759

and

John R. Doll

Doll, Johnson & Ford

for Teamsters LU 637

111 West First Street, Suite 1100
Dayton, OH 45402

RE: Arbitrators Decision and Invoice
Economy Linen & Towel Service vs Teamsters LU 637
FMCS CaSe NO. 16-51245
Pay Rate-Transportation Grievance

September 18, 2016
Dear sir and/or Madam:

Enclosed are two copies of my decision and award for the above
cited matter. This letter will also serve as my invoice for
services rendered. My tax ID # is XX-XXXXXXX.

My charges for this case are:

Travel, hearing, study

and preparation time $8,250.00
Food $ 65.00
Lodging $ 109.79
POV (360 miles at .54) $ 194.40

Tolls (1.09 x 4 + 1.46 x 4) $ 10.20
The total charge for the case is $8,629.39
The Employer's share is $4,314.69.
The Union's share is $4,314.69.
Your assistance in having payment made will be appreciated.
Thanks again for choosing me to serve as your arbitrator.

Res ectfully,

 

`Arbitrator

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______________________-___________

In the Matter of the Arbitration *

*
between: * Grievant: Class Action
*
Economy Linen and Towel Service * Hearing Location: Zanesville OH
Of Zanesville *
* FMCS Case No: 16~51245
and *
~k
The International Brotherhood of *
Teamsters *
Teamsters Local Union 637 *
*
BEFORE: Lawrence Roberts, Arbitrator
APPEARANCES:
For the Employer: Scott Kamins, Esq.
For the Union: John R. Doll, Esq.
Place of Hearing: Zanesville, OH
Date of Hearing: June 15, 2016
Date of Award: September 18, 2016
Relevant Contract Provision: Article 3 - Management Rights
Article 6 - Hours of Work and
Overtime
Type of Grievance: Contract

Award Summary:

4 The instant grievance is sustained in accord with the Discussion
and Findings below. The undersigned will retain jurisdiction for a
period of ninety days to ensure only the monetary portion of the
Award is satisfied. l

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Lawrence Roberts, Arbitrator

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SUBMISSION:

This matter came to be Arbitrated pursuant to the terms of
the Wage Agreement between Economy Linen and Towel Service of
Zanesville, Ohio and the International Brotherhood of Teamsters,
Local Union 637, the Parties having failed to resolve this
matter prior to the arbitral proceedings; The hearing in this
cause was conducted on 16 June 2016 in Zanesville, OH. Testimony
and evidence were received from both parties. A.transcriber was
used. The Arbitrator made a record of the hearing by use of a

tape recorder and personal notes. The Arbitrator is assigned to
this matter in accordance with the Wage Agreement.

OPINION
BACKGROUND AND EACTS:

This matter involves a class action grievance filed on
behalf of employees working at Economy Linen and Towel Service
of Zanesville, Ohio. Bargaining unit members are represented by`

the International Brotherhood of Teamsters, Local Union 637.

Economy Linen and Towel Service is a privately owned
company engaging in the business of leasing and laundering
sheets, bedding material, surgical gowns and other similar

products to hospitals and medical facilities within the region.

A portion of that business requires round trip
transportation of those products from the various facilities to
the plant for processing. This is accomplished by tractor
trailer combinations which require Class A CDL drivers employed

by the Company.

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Due to a robust regional economy, the Company has been
challenged in successfully recruiting and retaining bargaining
unit employees to perform the required Class A CDL tasks to

maintain their business.

In the Fall of 2015, Economy Linen was lacking the number
of Class A CDL Drivers to operate their routes on a consistent
and efficient basis. And as a result of this driver shortage,
Economy Linen opted to engage the services of a subcontractor
known as ProDrivers. ProDrivers provides certified drivers on a
contract basis. And it was that ProDrivers contract which
caused the following grievance to be filed on or about

22 October 2015:

“Filing this grievance on behalf of all affected
under Article 6.08 and any other related articles.
Company not honoring pay raise to full time
transportation drivers that is making less than
temporary and/or part time drivers. Further facts
to be presented at time of hearing.

The position of the company is that we did not
have temporary drivers. We contracted a service.
The wage rate at which they pay their drivers is at
their discretion. Our decision is based on Article
3.01 thru 3.04”
The Union alleges in this grievance the subcontracted

employees were paid more than bargaining unit members resulting

in a violation of the Parties Agreement.

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It is the contention of the Employer the Parties Agreement
allows such subcontracting and in this instant case, there was
no violation of any Article or Section of the Parties Agreement.
Management requests the instant grievance be denied in its

entirety.

Obviously, the Parties were unable to resolve this dispute
during the prior steps of the Parties Grievance and Arbitration

Procedure of Article 13.

It was found the dispute was properly processed through the
prior steps of the grievance procedure. Therefore, the matter

is now before the undersigned for final determination.

At the hearing, the Parties were afforded a fair and full
opportunity to present evidence, examine and cross examine
witnesses. The record was closed following the timely
submission of post hearing briefs submitted by the respective

Advocates.

JOINT EXHIBI TS:

l. Agreement between Economy Linen and Towel Service of
Zanesville and The International Brotherhood of Teamsters,
Teamsters Local Union 637

2. Grievance Papers

3. Arbitration Request Letter

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UNION'S POSITION:

In the view of the Union, most of the facts and
circumstances relating to this instant grievance are undisputed.
And as pointed out by the Union in this matter, the pertinent
contractual language in dispute is Article 6, labeled “Hours Of
Work And Overtime,” specifically Article 6.08 which addresses
temporary and/or part-time employees.

The Union contends the part~time/temporary employees hired
in October 2015 and being reimbursed at a rate higher than that
' of full-time Employees of the Employer. The Union points out
this resulted in the filing of the instant grievance.

The Union disputes the Employer position that temporary
employees were not hired, instead, Management claims that a
temporary service was contracted.

As argued by the Union, Economy Linen and Towel Service and
ProDrivers were joint Employers of these Employees. The Union
insists that regardless of the Company’s position in this
matter, those contracted drivers were directed and supervised by
Economy Linen and Towel Service.

As a remedy, the Union requests reimbursement between the
bargained for pay rate of those bargaining unit drivers and the
greater wage that was received by the contracted drivers, in
this case, that of ProDrivers.

EMPLOYER'S POSITION:

It is the position of the Employer that they have not
violated the terms and conditions of the Wage Agreement.

According to Management, most recently, other new companies
have entered this metropolitan area thus creating a shortage of
qualified truck drivers. And as pointed out by Management, they
have been challenged in hiring and retaining qualified drivers
over the past several years.

Furthermore, it is the position of the Employer that many
efforts have been made by them to hire and retain qualified
drivers. It was pointed out by management that it is impossible
to operate their business with an insufficient number of
qualified truck drivers to complete the deliveries.

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Management also mentions that not a single delivery has
ever been missed since the inception of this company. The
Employer argues it is paramount to maintain this record in order
for this Employer to continue its business successfully

According to the Employer, the subcontracting that occurred
in this case was a matter of last resort. Management claims it
is their inherent right per Article 3 to subcontract this work,

Furthermore, the Employer claims that any and all wages and
benefits paid to the subcontracted drivers was made by
ProDrivers and not Economy Linen and Towel. In fact, according
to the Employer, Economy Linen and Towel had no personal
interaction at all with the sub-contracted drivers.

lt is the argument of the Company that Article 3 of the
Agreement allows management to subcontract and in this specific
case, that is exactly what was done. According to the
Employer's claim, the subcontractor in this case was paid $30
and some change per hour and Economy Linen and Towel Service has
no idea how much the individual drivers of the subcontractor
were paid. `

Management also insists the Union is unable to identify the
exact wages paid to the subcontractor. This, according to the
Employer makes the Union's entire case in chief nothing more
than hearsay.

The Employer claims the work at issue was not performed by
temporary Employees, instead, an emergency relief service
provided by a sub-contractor. Furthermore, the Employer
insists the remedy requested by the Union in this matter is
inappropriate.

And on that basis, the Employer requests the instant
grievances be denied.
THE ISSUE :

Whether or not the Employer violated the Parties Agreement

by hiring subcontractors at a wage rate higher than that of
bargaining units Employees? If so, what shall the remedy be?

PERT INENT CONTRACT PRCVISIONS :

ARTICLE 3
Management Rights

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Article 6
Hours of Work and Overtime

DISCUSSION AND FINDINGS:

Both Parties submitted formidable arguments and contentions
in support of their respective position. Furthermore, the same
also submitted other authority in their attempt to gain support
of their respective position in this matter. However, the
undersigned would like to point out that Article 14.05 of this
Agreement, as well as most other labor agreements, limits the
undersigns authority to the four corners of the bargained for

language.

Instead of any other outside authority, the unambiguous
language of this Wage Agreement provides resolution to the issue
at hand. The determination of this issue is found internally

within the Parties own Wage Agreement.

In that light, the controlling language in this dispute
focuses on Articles 3, Management Rights and Article 6, Hours of
Work and Overtime. I would like to first point out I exited
this hearing with a full understanding of the respective
positions of the Parties. While other Opinions and arbitral
authority were carefully reviewed, there were no submissions

made by either Party on point with this very specific issue.

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The bargained for language of this Agreement is truly unique to
this very specific venue. And my findings in this case was
derived entirely from within the language of this Wage

Agreement.

In this case, there was a lack of regular bargaining unit
Employees to satisfy the workload beginning in the last quarter
of 2015. This caused the Employer to enter into a “Service
Agreement” with another company known as “ProDrivers” to
complement their regular work force during a period of increased
service demand. The facts of this case were not in dispute.

The pay rate of those “Service Agreement” drivers became the

contention of this instant grievance.

The Union contends that Economy Linen and Towel Service was
a Joint Employer with ProDrivers during the time period the work
force was complemented by this outside source of Employees. And
in summation the Employer argues the ProDrivers supplement was
neither a temporary or part-time employee of Economy Linen and

Towel.

l respectfully disagree with that Employer position in this

matter. My reasoning is as follows.

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The contractual component controlling my decision is the
last sentence found in Article 6.08 which states that “In no
event will a temporary or part-time employee be hired at or

given a higher raise than a full-time employee.”

In Article 2.02 a full time Employee is defined, however, a
temporary or part-time employee was left without specific
contractual definition other than to exclude anyone other than a
full-time employee from the bargained for agreement. And that
unambiguous definition of a full-time employee becomes
controlling in this matter. There is no language found within
the same Agreement specifically defining either a temporary or

part-time employee in a similar context.

Article 3.02 of the Agreement unambiguously provides the
Employer the exclusive right to subcontract. That managerial
right seems unimpeded until one reaches the Hours of Work and

Overtime provision.

Article 6.11 does define Temporary (“on-call”) employees as
“individuals who are on call to work when regular full-time
employees are not available to work or to augment the work force
in peak periods.” This is a very broad definition and in my
considered opinion defines precisely the subcontractors at issue

in this matter.

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The literal meaning of “temporary” within the negotiated
language becomes the accepted definition, as the Parties
Agreement lacks a more defined description. Emphasis of that
point is made by the fact the chief negotiators duly noted via
Article 2.02 a very specific definition providing that “whenever
the words “employee” or “employees” are used in this Agreement,
they shall be deemed to mean full-time employees of the Company
in the bargaining unit, as defined in Section 2.01.” And that
same Section clearly excludes temporary and part time Employees
from the “provisions of this Agreement.” Had the negotiators
desired to further characterize either a temporary or part time
employee, they could have easily done so. This was quite
evident by their vivid description of a full-time employee.
Therefore, the term temporary or part time cannot be accepted at

anything other than face value.

And in this matter ProDriver employees cannot be labeled by
any other classification other than that of “temporary.” Any
ProDriver was something other than a full-time Employee and in
this matter clearly falls under the jurisdiction of Article 6.08
as mentioned above. That is the literal meaning and there is
simply no other language in this Agreement which distinguishes a
subcontracted employee from a temporary employee. The

negotiators were meticulous with their unambiguous language in

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describing a full time employee yet clearly failed to offer any

precise definition for any other Status.

The Parties clearly agreed to allow subcontracting,
however, failed to specifically draw a distinction between a
subcontracted employee and a temporary employee. The
negotiators could have easily have done so. However, the
absence of any language in that regard makes it clear, at the
face value of the Agreement, that a subcontractor and a
temporary employee are in fact, one in the same. And Article
6.08 is unambiguous, in that, it even leads off with the phrase
“in no event.” And in my view, that particular phraseology is

definitive and without exception.

To further bolster that reasoning, the “Driver Supervision”
as defined in the ProDrivers Service Agreement with Economy
Linen and Towel Service seems to be more akin to that of a
temporary employee rather than a subcontractor. The
aforementioned Agreement states that “Drivers on assignment
shall be borrowed servants of Customer and will be under their
control and daily supervision. Customer shall have the sole
right to control the manner by which the work is performed
including the direction, training, control, road testing and
supervision of the driver while operating vehicles and related

equipment. Customer shall control and direct the origin,

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destinations, routing and scheduling.” And with that language,
it became quite apparent the “subcontracted employee” was under
the total control of Economy Linen and Towel Service
supervision. ProDrivers, in this instance was more akin to a
conduit, an agency, offering employment to a group of
individuals with a special skill set rather than acting as the

employer.

Regardless of one’s specific definition of “borrowed
servants” found in that Service Agreement, I am of the
considered opinion in this matter the term “temporary” certainly
provides the only contractual description of ProDrivers in this
specific case, By the Parties Agreement, the literal meaning of
temporary is something other than a full-time Employee of
Economy Linen and Towel Service. And in this case, that logic
certainly applies to the ProDrivers Company that provided

temporary employees to the Economy Linen and Towel Service.

The Employer in their post hearing brief argued the term
“joint employer” is certainly non-applicable in this case. That
may very well be so. However, the fact of the matter is, the
work at issue has been determined to have been performed by
temporary Employees. However else those same Employees may be
labeled is irrelevant. It was clear the purpose of these

Employees was to “augment the work force in peak periods” as

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mentioned in Article 6.11 above. The Agreement failed in making
any other distinction or separation between a temporary and a
subcontracted employee. Accordingly, the undersigned is of the
considered opinion the unambiguous language cannot be
interpreted to represent anything other than its literal

meaning.

For all the above reasoning, 1 am of the considered opinion
the Employer in this instance violated Article 6.08 by paying
ProDriver subcontractors a higher wage than bargaining unit
Employees. And as a remedy, the Employer shall make whole
affected bargaining unit Employees, the difference between
twenty dollars ($20.00) and their regular rate of pay during all
time ProDrivers performed work commencing 6 October 2015.

Should the Parties be unable to agree on proper monetary
disbursement, the undersigned will maintain jurisdiction, for

settlement purposes only, for a period of ninety (90) days.

The Union also requested the Employer be ordered to raise
the rate of pay to $20.00 for the remainder of this Wage
Agreement which l find inappropriate. As previously mentioned,
it is not within the authority of any arbitrator to change any
of the terms and conditions of Parties Agreement, instead, only

interpret the language as written.

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In a closing note, I would like to mention I certainly
recognize the dilemma of the Employer in this matter. However,
the language of Article 3 does not supersede the unambiguous
language of Article 6.08. The aggressive argument made by the
Employer Advocate was simply unable to overcome the language of
the Parties Agreement. That subcontracted Employee, for lack of
another contractual definition, could not be considered anything

other than a temporary employee as described in Article 6.08.

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AWARD

The grievance is sustained in accord with the above.

Dated: September 18, 2016
Fayette County PA

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